ROSENSTEEL, Igor Cooper
Register No.: 64770-037
Union A

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Inmate Request to Staff Response

This is in response to your Request to Staff received on
January 9, 2022, wherein you request a Compassionate
Release/Reduction in Sentence (RIS).

In accordance with Program Statement 5050.50, Compassionate
Release/Reduction in Sentence: Procedures for Implementation of 18
U.S.C. 3582(c) (1) (A) and 4205(g), Elderly Inmates with Medical
Conditions must be Age 65 and older. You are 31 years old and as
such are not eligible for early release under the PS 5050.50.

RIS consideration may also be given to inmates who have an incurable,
progressive iliness or who have suffered a debilitating injury from
which they will not recover. Your case was reviewed and determined
that although you have medical concerns, they are not debilitating.

In accordance with policy, the BOP should consider a Reduction in
Sentence if the inmate is:

* Completely disabled, meaning the inmate cannot carry on any
self-care and is totally confined to a bed or chair. You are
able to maneuver within the living quarters. You are able to
address your normal living needs.

* Capable of only limited self-care and is confined to a bed or
chair more than 50% of waking hours. You are able to maneuver
within the Living quarters. You are able to walk to Health
Services. You are able to walk to Food Service. You are able
to address your normal living needs.

Accordingly, your request for a Compassionate Release/Reduction in
Sentence is denied. If you are not satisfied with this response,
you may appeal through the Bureau of Prisons, Administrative Remedy
Process by obtaining an Informal Resolution form through your
Correctional Counselor.

I trust this information is responsive to your inquiry.

Zi 22 KE. Langer

pace R. Thompson
Warden
